Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 1 of 15 PageID #:33




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Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 3 of 15 PageID #:35
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 4 of 15 PageID #:36
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 5 of 15 PageID #:37
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 6 of 15 PageID #:38
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 7 of 15 PageID #:39
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 8 of 15 PageID #:40
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 9 of 15 PageID #:41
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 10 of 15 PageID #:42
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 11 of 15 PageID #:43
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 12 of 15 PageID #:44
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 13 of 15 PageID #:45
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 14 of 15 PageID #:46
Case: 1:15-cv-07832 Document #: 7 Filed: 12/15/15 Page 15 of 15 PageID #:47
